      Case 5:05-cr-00801-JW           Document 11           Filed 03/09/06          Page 1 of 3



 1   BARRY J. PORTMAN
                                                                                  ISTRIC
     Federal Public Defender                                                 TES D      TC
 2   LARA S. VINNARD                                                       TA




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     Assistant Federal Public Defender




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 3   160 West Santa Clara Street, Suite 575




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     San Jose, CA 95113
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 4   Telephone: (408) 291-7753                                            IT IS S




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 5   Counsel for Defendant CRAWFORD
                                                                                             es Ware




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                               IN THE UNITED STATES DISTRICT COURT   R                          TO
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

11   UNITED STATES OF AMERICA,                      )        No. CR 05-0801 JW
                                                    )
12                           Plaintiff,             )        STIPULATION TO CONTINUE
                                                    )        HEARING AND EXCLUDE TIME;
13   v.                                             )        [PROPOSED] ORDER
                                                    )
14   JACOB STORY and                                )
     MICHAEL CRAWFORD,                              )
15                                                  )
                       Defendants.                  )
16   _____________________________________

17            Defendants and the government, through their respective counsel, hereby stipulate that,

18   subject to the court’s approval, the hearing in the above-captioned matter, presently scheduled for

19   Monday, March 13, 2006, at 1:30 p.m., be continued to Monday, April 24, 2006, at 1:30 p.m.

20   The continuance is requested to allow time for the defendants to review discovery and conduct

21   investigation.

22            The parties further agree that time should be excluded under the Speedy Trial Act until

23   the next hearing of this matter because the defendants require time for investigation and

24   preparation, and the ends of justice outweigh the defendants’ and the public’s need for a speedy

25   trial.

26

     STIPULATION TO CONTINUE
     HEARING DATE
     No. CR 05-0801 JW                                  1
     Case 5:05-cr-00801-JW     Document 11       Filed 03/09/06   Page 2 of 3



 1   Dated: 3/9/06                                 _________/s/_______________
                                                   LARA S. VINNARD
 2                                                 Assistant Federal Public Defender
                                                   Attorney for Michael Crawford
 3

 4   Dated: 3/9/06                                 _________/s/_______________
                                                   BOB CAREY
 5                                                 Attorney for Jacob Story

 6
     Dated: 3/6/06                                 __________/s/______________
 7                                                 CARLOS SINGH
                                                   Assistant United States Attorney
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     STIPULATION TO CONTINUE
     HEARING DATE
     No. CR 05-0801 JW                       2
      Case 5:05-cr-00801-JW         Document 11            Filed 03/09/06          Page 3 of 3
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                             IN THE UNITED STATES DISTRICT COURT
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                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
                                          SAN JOSE DIVISION
 9
     UNITED STATES OF AMERICA,                     )        No. CR 05-00801 JW
10                                                 )
                           Plaintiff,              )        [PROPOSED] ORDER CONTINUING
11   v.                                            )        HEARING AND EXCLUDING TIME
                                                   )
12   JACOB STORY and                               )
     MICHAEL CRAWFORD,                             )
13                                                 )
                       Defendants.                 )
14   _____________________________________

15          All parties have requested a continuance of the hearing set for March 13, 2006, on

16   grounds that the defendants require additional time to review discovery and conduct

17   investigation.

18          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the hearing date

19   presently set for March 13, 2006, be continued to April 24, 2006, at 9:00 a.m.

20          Pursuant to the parties’ stipulation, IT IS FURTHER ORDERED that the period of time

21   from March 13, 2006, to April 24, 2006, shall be excluded from the period of time within which

22   trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.

23
     Dated: March 9, 2006                                    __________________________________
24                                                           JAMES WARE
                                                             United States District Judge
25

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     ORDER CONTINUING HEARING
     No. CR 05-00801 JW                                3
